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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION


WILLIAM H. MCESSY,                                          )
                                                            )
                                     Plaintiff,             )
                                                            )
                      VS.                                   )
                                                            )
GREGORY W. GRAY, JR.; GREGORY P.                            )
EDWARDS; ARCHIPEL CAPITAL LLC; BIM                          )
MANAGEMENT LP; BENNINGTON INVESTMENT                        )
MANAGEMENT, INC.; NIXON PEABODY, LLP;                       )
JOHN KOEPPEL ESQ.; and against all in a                     )
representative and fiduciary capacity for as                )   Civil Action No. _____________
acting GENERAL PARTNERS; and CONTROL
MEMBERS OF BENNINGTON-EVERLOOP LP;                          )
ARCHIPEL CAPITAL-AGRIVIDA LLC; ARCHIPEL                     )
CAPITAL-BLOOM ENERGY LP; ARCHIPEL                           )
CAPITAL-LATE STAGE FUND LP; ARCHIPEL                        )
CAPITAL-LINEAGEN LP; ARCHIPEL CAPITAL-                      )
SOCIAL MEDIA FUND LP (1, 2, 3 & 4) and                      )
against each said funds Individually as Limited             )
Partnership Enterprises and as Attorneys and                )
Publishers of all Private Placement                         )
Memorandums in connection with each/any/or                  )
all of the above entities; and against MV                   )
LIQUIDITY FUND, LLC; MV LIQUIDITY FUND I,                   )
LLC; MICROVENTURE MARKETPLACE, INC.; and                    )
Jane Does and Mary Roes (#1-10),                            )
                                                            )
                                                            )
                                     Defendants.            )

                                   DECLARATION OF SARA T. GHADIRI
        I, Sara T. Ghadiri, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that the

following is true and correct.

         1.      The undersigned is an attorney for Lois McEssy (“Mrs. McEssy”) in this case and

is authorized to make this Declaration on behalf of Mrs. McEssy in support of her Motion to


Ghadiri Declaration ISO Mtn to Quash 4818-2113-8058 v1[1].doc
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Quash the Subpoena Issued by Defendant Gregory Gray, Jr (“Gray”). This Declaration is made

based upon my personal knowledge of the facts contained herein.

        2.        I received my law degree from the University of Iowa in 2014. I am attorney

licensed to practice in the State of Illinois. I am admitted to practice in the United States District

Courts for the Northern District of Illinois, and am admitted pro hac vice in the companion

underlying case that the Subpoena to Mrs. McEssy was issued out of, currently pending in the

Northern District of New York as Case No. 15-cv-1462 (“Civil Case”).

        3.        In addition to the Civil Case, there is another case against similar defendants,

including Mr. Gray, which is currently pending in the Northern District of New York as Case

No. 15-cv-538. Both cases are proceeding before the same judge and the parties in both cases

have been ordered to coordinate depositions with each other. For this reason, all counsel are

carbon copied on emails relating to depositions.

        4.        A true and correct copy of the operative Complaint in the Civil Case is attached

hereto as Exhibit B.

        5.        I am the attorney that has been primarily responsible for communicating with the

parties on behalf of Mr. McEssy’s legal team in order to coordinate depositions in the Civil

Case.

        6.        I am also the attorney that took the first scheduled depositions that proceeded in

the Civil Case.

        7.        Attached hereto as Exhibit A is a copy of the Subpoena to Mrs. McEssy that I

retrieved from the docket of the Civil Case.

        8.        Attached hereto as Exhibit B is a true and correct copy of the operative Complaint

in the Civil Case.




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       9.      Attached hereto as Exhibit C is a true and correct copy of an email that I received

from Gray on February 11, 2019 at 8:33 a.m. CT, before depositions in the Civil Case were

scheduled to begin.

       10.     The first deposition that proceeded began at 1:00 p.m. CT/2:00 p.m. ET.

       11.     In addition to the email attached hereto as Exhibit C, I received eighteen

additional emails from Gray on February 11, 2019 between 1:26 p.m. CT and 4:28 p.m. CT,

during which time the first deposition was proceeding.

       12.     Attached hereto as Exhibit D is a true and correct copy of an email string that I

received from Gray on February 11, 2019 at 2:04 p.m. CT. In Exhibit D, Gray referred to me as

Hawkeye, using an unprovoked, unwelcome, and unprofessional nickname related to my law

school alma mater rather than address me as counselor or Ms. Ghadiri, or even by my first name.

       13.     Gray caused the first deposition to be delayed by more than an hour because he

allegedly could not access the dial-in line, despite other attorneys on the case being able to

access the line, confirming that it worked from both cell phones and land lines, and offering to

patch him in. See Exhibit D.

       14.     Despite offers to help, Gray refused to cooperate.

       15.     When all parties at the deposition called the chambers of Magistrate Judge

Dancks, the presiding judge in the Civil Case, Judge Dancks did not intervene to halt the

deposition.

       16.     The second deposition in the Civil Case proceeded on February 12, 2019.

       17.     Attached hereto as Exhibit E is is a true and correct copy of an email string that I

received from Gray on February 12, 2019 at 7:58 a.m. CT. Somehow, despite no changes being

made to the dial-in line that had been being used, Gray was able to dial-in to the conference line

on February 12.       However, in that email, Gray called all counsel “a** clowns” and again



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referred to me as Hawkeye rather than address me as counselor or Ms. Ghadiri, or even by my

first name. See Exhibit E.

       18.    Attached hereto as Exhibit F is is a true and correct copy of an email string that I

received from Gray on February 12, 2019 at 8:17 a..m. CT. In that email, Gray again called an

attorney an “a** clown.” See Exhibit F.

       19.    Attached hereto as Exhibit G is is a true and correct copy of an email string that I

received from Gray on February 12, 2019 at 8:29 a.m. CT. In Exhibit G, Gray again instead of

referring to me by name or as counselor, called me “hawked”, an apparent autocorrect for his

previous “Hawkeye.”

       20.    At the same time he was insulting myself and other counsel, he was also actively

obstructing the second deposition by playing music on conference line. See Exhibit G. We were

forced to use a different conference line because music was coming through the conference call

and making it impossible for the deposition to proceed. See id.

       21.    I am the only female attorney that is involved in this case, and the only female

present in person or by phone for the second deposition. Attached hereto as Exhibit H is is a

true and correct copy of an email string that I received from Gray on February 11, 2019 at

8:43 a.m. CT. In Exhibit H, Gray called me “the girl” rather than addressing me by name or as

counselor.

       22.    Attached hereto as Exhibit I is is a true and correct copy of an email that I

received from Gray on March 5, 2019 at 8:49 a.m. CT.




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       23.    Attached hereto as Exhibit J is is a true and correct copy of an email string that

between myself and Gray that I began on February 21, 2019 at 8:40 a.m. CT. Gray never

responded to my last email on February 21, 2019 at 4:28 p.m. CT



                                               _________/s/ Sara T. Ghadiri_____________
                                                              Sara T. Ghadiri




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                                  CERTIFICATE OF SERVICE

       I Sara T. Ghadiri, an attorney, hereby certify that a true and accurate copy of
Declaration of Sara T. Ghadiri was served via email and U.S. Mail upon the individuals listed
below before the close of business this 13th day of March 2019:
                                    Gregory W. Gray, Jr.
                                          PRO SE
                                   60 School Street #1192
                                  Orchard Park, NY 14127
                                 gregorywgrayjr@icloud.com
                                William E. Brueckner , III
                             MCCONVILLE, CONSIDINE LAW FIRM
                                   25 East Main Street
                                        Suite 500
                                  Rochester, NY 14614
                                   Michael J. Grudberg
                              TARTER KRINSKY & DROGIN LLP
                                     1350 Broadway
                                  New York, NY 10018
                               mgrudberg@tarterkrinsky.com




                                                             ______/s/ Sara T. Ghadiri_________
                                                                       Sara T. Ghadiri




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